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                                                                        EXHIBIT 1-D
 STATE OF MAINE                                                          SUPERIOR COURT
 KENNEBEC,ss.                                                            DOCKETNO.CV-^?/-/^

  ANNIE VOORHEES,

        Plaintiff,

  V.
                                                                               COMPLAINT
  AMERICANAIRLINES,INC.,JANEDOE FLIGHT
  ATTENDANT, JOHN DOE MANAGER, and/orJANE DOE
  1-5 and JOHN DOE 1-5,

        Defendants.




        The Plaintiff, Annie Voorhees ("the Plaintiff"), complaining of the Defendants, American

 Airlines, Inc. ("AA"), Jane Doe Flight Attendant ("Flight Attendant"), John Doe Manager

 ("Manager"), and Jane Does 1-5 and John Does 1-5 (Jane and John Does 1-5 referred to as "the

 Doe Defendants"), alleges:

                                                  PARTIES

        1.       The Plaintiff is an adult, female individual residing in Kennebec County, Maine, of

 Caucasian descent, physically overweight/voluptuous, and of modest socio-economic status.

        2.           In or about 2020, the Plaintiff made arrangements to travel out of state to see her

 boyfriend in Philadelphia. Giventhat shehada modest income and lifestyle, planning andpaying

 for the trip-and arranging for child care for her three (3) minor children-was a particularly

 significant and expensive event for the Plaintiff.




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        3.      AA is a major American airline with a principal place of business in Fort Worth,

 Texas,servicingapproximatelyforty-seven (47) Statesin the Union, includingthe Statesof Maine

 and Pennsylvania.

        4.      AA employs over 500 employees all overthe Country.

        5.      Venue is proper in this jurisdiction and with this Court because AA actively does

 and solicits business withinthe State of Maine; has a presence in and around the State soliciting

 business; and the Plaintiff purchased tickets from/ through, or with AA from her home State of

 Maine and County of Kennebec.

        6.      At all relevant times, Flight Attendant was an employee of or independent

 contractor working for AA as a stewardess, and whose identity is unknown to the Plaintiff.

        7.      At all relevant times, Manager was an employee of or independent contractor

 working for AA in a managerial role, whose identity is unknown to the Plaintiff.

        8.      The Doe Defendants are individuals whose identities are unknown to the Plaintiff

 and who are responsible for all or some of the acts and omissions complained of herein.

                                                FACTS

        9.      The Plaintiff is a Caucasian woman, overweight, has a voluptuous figure, and

 presents as- and in fact is - of relatively modest financial means.

        10.         On or about December4, 2020, a Friday, the Plaintiffchecked onto an AA flight

 at Portland International Jetport ("PWM"), heading to Harrisburg, Pennsylvania, and connecting

 in Philadelphia.




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         11.     The Plaintiff'sticket was relatively inexpensive-a "bargain"type of fare-which,

 upon information and belief, the Defendants knew or learned of before the actions described

 below were taken.

         12.     Since she was visiting her boyfriend, the Plaintiff was "dressed up" for the trip.

 She was wearing a black dress with a zippered top-which was not completely closed, resulting

 in her showing a fair amount of "cleavage"-boots with heels, and fishnet stockings.

         13.     The Plaintiffflew from PWM to Philadelphia without incident. The flight was small

 and, upon information and belief, consisted of most if not all Caucasian passengers; and most if

 not all Caucasian staff.

         14.     In Philadelphia, the Plaintiff boarded the connecting AA plane, and was greeted

 by the Flight Attendant- an African American woman-who appeared to be in her 50s.

         15.     The Plaintiff was seated toward the back of the aircraft. There was an older,

 Caucasian man ("the Man") seated directly in front of the Plaintiff's seat, who the Plaintiff

 observed glaring at her (and her outfit) as she passed.

         16.     When the Plaintiffsat down, the Man stood up suddenly and attempted to move

 seats. The Flight Attendant went over to and conversed briefly with him, and then walked back

 to the Plaintiff.

         17.     When she reached her, the Flight Attendant asked the Plaintiff in a loud voice,

 "Ma'am, are you okay?"

         18.     The question was designed to, and did, cause the Plaintiff embarrassment, being

 sarcastic and directed at the Plaintiff's appearance ratherthan condition.

         19.         The Plaintiffanswered quietly that she wasfine.



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         20.     The Flight Attendant left the area, following which a woman in an orange pinny

 (obviously sent by the Flight Attendant) walked to the back ofthe plane. The woman drew much

 attention from passengers; and went directly to the Plaintiffto ask if shewould "cover up a little."

         21.     The Plaintiff was humiliated and embarrassed and zippered her top almost all the

 way up. The woman left.

         22.     Two to three minutes later, the FlightAttendant returned and loudly stated that,

 while she did not mean to embarrass the Plaintiff, the Plaintiff needed "to cover up."

         23.     The Plaintiff hastily zippered her top as far up as it would go - which rendered it

 modest and not revealing - but the Flight Attendant insisted that the Plaintiff would have to put

 her coat on for the duration of the flight. The request was designed to humiliate and embarrass

 the Plaintiff further, and to cause additionally embarrassment and humiliation if agreed to, as

 most if not all passengers were not wearing their coats or jackets.

         24.     The Plaintiff politely told the Flight Attendant that it was overly warm on the

 plane; that she often got hot; and that she would not be comfortable having to wear her coat for

 the entirety of the flight.

         25.     The Flight Attendant left, and the Manager - an African American man - alighted

 the plane. He drew ample attention as hewalked down the aisle to the Plaintiff's seat and asked

 her to gather her things and depart the aircraft with him

         26.     The Manager was or should have been aware that there were no other flights out

 to Harrisburg that day or for several days, and that the Plaintiff would be unable to reach her

 destination.




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        27.     Upon information and belief, the other passengers were led to believe that the

 Plaintiffhad done something serious enoughto warrant removal from the flight.

        28.    The Plaintiff was humiliated, did not argue, and was escorted off the plane.

        29.     Outside the gate, the Plaintiff asked the Manager if she would be permitted to

 reboard the plane if she were to put on herjacket, and the Managersaid no.

        30.    The Manager directed the Plaintiffto sit in a near-vacant gate area while her plane

 departed; and the airport emptied out. The Manager stood for an extended period of time at

 the gate speaking to other employees, while the Plaintiff filmed live on Facebook, often breaking

 into tears as she described what was happening.

        31.     During the unreasonably long wait, a small group of AA employees passed by, with

 one saying loudly to the Plaintiff, "You would have been allowed on our plane!"

        32.     During that wait, the Manager was joking, laughing, and talking with coworkers

 and peers so as to extend the Plaintiff's wait and show her utter disregard.

        33.     The Manager finally informed the Plaintiff that she was not being allowed to fly

 because her clothing was inappropriate and violated company policy. When the Plaintiff asked

 calmly what policy it was, the Manager stated that he did not have it.

        34.     Upon information and belief, the "policy" was one that the Manager did not know,

 and was vague, stating merely that a customer must "dress appropriately"; and that "offensive

 clothing" is not "allowed."

         35.    The Plaintiffwascausedto sit for another long stretch oftime while the Manager

 allegedly attempted to "rebook" the Plaintiffon another flight. Upon information and belief, the




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 Manager knew long before he took the Plaintiff off the flight that there was none other heading

 to her destination leaving that night, and that he could not rebook her.

          36.    In spite of this, the Manager undertook this "search" for the express or reckless

 purpose of causing the Plaintiff the inconvenience and humiliation of sitting in an emptying

 airport for an extended period of time.

          37.    After the airport was nearly vacant, the Manager informed the Plaintiff that AA

 would not be paying for a hotel for her since her removal from the flight was based upon her

 violation of the rules.

          38.    The Manager also told her that AA wouldn't sponsor her overnight stay because

 AA had to assume that the Plaintiff would show up to the hotel dressed in an outfit that violated

 the hotel's dress policy.

          39.    The latter statement was made out of animosity and with malice, as the Manager

 had no good faith basisfor believingthat the Plaintiff'soutfit would "violate" a "dress code" at a

 hotel.

          40.    The Manager did not advise the Plaintiffof how to get ground transportation to a

 hotel, or otherwise offer to assist her.

          41.    The Manager finally informed the Plaintiff that there were no flights to Harrisburg

 for two (2) days-a fact he knew or should have known when he took her off the plane, and/or

 knew quickly upon his "rebooking"attempt.

          42.    The Manager gave the Plaintiff no alternatives as to how to get to Harrisburg,

 leaving her to figure it out. He told her that he had to book her at least twenty-four (24) hours

 later, on a Sunday morning flight.



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        43.     The Plaintiff was crying off and on throughout the process, continuing to video for

 FacebookLive. She explainedto her audiencethat she had no money with whichto stay at a hotel

 or secure substitute transportation to Harrisburg, or even to get to the hotel.

        44.     Ultimately, the Plaintiff stayed in a hotel with funds that someone watching

 Facebook Live sent her. She also borrowed funds to take a taxi to the motel, an Uber to the bus

 station the next day, a bus, and a taxi to her ultimate destination.

        45.     The offending outfit was one that the Plaintiff had worn many times before and

 has worn many times since without incident.

        46.     In or about 2021, the Plaintiff, through Counsel, wrote to AA, setting forth the

 foregoing and demanding that it compensate her for her monetary losses and predictable and

 severe emotional distress.


        47.     AA refused to compensate her.

                                          CAUSES OF ACTION

                                                Count!:
                                        Breach of Contract (AA)

        48.      The Plaintiff repeats the foregoing.

        49.     The Plaintiff entered into a valid and binding contract with AA pursuant to which

 she agreed to pay for, and AA agreed to provide, aviation transport from PWM to Harrisburg, PA.

        50.     The Plaintiff fully performed her obligations under the contract, including obeying

 all rules of the airline, being cooperative, and following staff directives.

        51.      In breach of its obligation under the contract, AA failed and refused to provide the

 Plaintiff with air transport from PWM to Harrisburg as agreed to and paid for.




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           52.   In further breach of its obligations under the contract, AA failed and refused to

 provide or help the Plaintiffwith rebooking or hotel bookings due to its wrongful denial of her

 travel.


           53.   As a result of AA's breach of contract, the Plaintiff suffered damage.

           WHEREFORE,Plaintiffdemandsjudgment against AA for such amount as is appropriate,

 with interest and costs.

                                               Count II:
                 Breach of the Implied Covenant of Good Faith and Fair Dealing (AA)

           54.   The Plaintiffrepeats the foregoing.

           55.   The contract between the Parties carried with it the implied covenant of good faith

 and fair dealing. This covenant required that AA not take any actions that were designed or

 certain to undermine the benefits to which the Plaintiff was entitled and expecting under the

 contract; and not take any actions in bad faith or with malice.

           56.   AA breached the covenant by, inter alia, denying the Plaintiff transport based

 upon the FlightAttendant's subjective opinion that the Plaintiffwas not property dressed.

           57.   AA further breached the covenant by permitting the Flight Attendant to kick the

 Plaintiff off the plane because, upon information and belief, she was Caucasian, overweight

 and/or voluptuous, of lesser socio-economicclass and hence less likely to successfullychallenge

 the action, and offensive to the Male whom the Flight Attendant viewed as a higher status.

           58.   AA further breached the covenant by being unable to iterate why and which rules

 the Plaintiff allegedly broke to justify denying her travel.

           59.   AA further breached the covenant by refusing to assist the Plaintiff - either

 financiallyor otherwise- in rebooking a flight or booking, payingfor, and travelingto a hotel.


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        60.      The breaches of the implied covenant of good faith and fair dealing were taken

with actual malice, or in reckless disregard for the Plaintiff's rights.

        WHEREFORE,Plaintiffdemandsjudgment againstAA for such amount as is appropriate,

with interest and costs, punitive damages, and attorney fees.

                                               Count III:
                                           Unjust Enrichment

        61.       The Plaintiff repeats the foregoing.

        62.       There was an enforceable contract between the Parties, which AA wrongfully

 contended was breached by the Plaintiff.

        63.       As AA accepted the Plaintiff's full payment for the entire airplane flight and only

 performed 1/4 of it, AA was unjustly enriched bythe Plaintiff's payment.

        64.       AA's actions voided any value in the first 1/4 of the Plaintiff's trip by stranding her

 in Harrisburg, Pennsylvania, at night, with no planes out for days and no way for her to afford a

 hotel room on her own or pay for alternative travel.

         65.      Permitting AA to retain the value of the tickets would be unjust.

         66.      The only way justice would be served is if AA is ordered to return the funds that

 the Plaintiff paid to her.

         WHEREFORE, Plaintiff demands judgment against AA for such amount as is appropriate,

 with interest and costs.

                                  Count IV:

               Intentional Infliction of Emotional Distress (AA/FlightAttendant/Manager)

         67       The Plaintiff restates the allegations set forth above.




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           68.   AA, the Flight Attendant and Manager took actions, singularly and collectively,

  designed or certain to cause extreme emotional suffering, humiliation, and anguish in the

  Plaintiff.

           69.   Upon information and belief, the Flight Attendant was and is a middle-aged,

  conservative, African American woman, who noticed the Plaintiff for being overweight,

  voluptuous, and provocatively dressed, after the Man expressed displeasure with the Plaintiff's

  appearance.


           70.   Upon information and belief, the Flight Attendant valued the Man as a customer

  more than she did the Plaintiff, as he was male, appeared to be higher class, and assumed to

  have paid more for his ticket and thus being a more valuable customer

           71.   Flight Attendant and Manager both knew that there were no "policies" that

  required or justifiedtheir actions in removingthe Plaintifffrom the aircraftfor failingto wearher

  coat.


           72.   Their actions included the Flight Attendant calling repeated attention to the

  Plaintiffthrough (a) loudly askingif the Plaintiffwas "okay," followingan obvious discussionwith

  the Male, who (obviously) was moving away from, and complaining to the Flight Attendant about,

  the Plaintiff; having the woman in the bright orange pinny ask the Plaintiffto zip up; and the

  Flight Attendant returning to the back of the plane and telling the Plaintiff that she had to cover

  up, that the efforts she made were inadequate, and that she would have to put on her coat for

  the duration of the flight.




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         73.    When the Plaintiff calmly explained that she couldn't wear her coat due to the

 temperature in the aircraft, the FlightAttendant made it obviousthat her answerwas considered

 insubordinate and unacceptable.

         74.    The Flight Attendant caused a second ruckus when she summonsed the Manager,

 who came to get the Plaintiffand escort her off the aircraft without explanation.

         75.    The Manager had the option, but chose not, to permit the Plaintiffto remain on

 the aircraft once he saw that her top had been zipped up all the way.

         76.    Upon information and belief, the Managerwas partial to or on side with the Flight

 Attendant because of their status as coworkers and/or friends.

         77.    Upon further information and belief, the Manager had the responsibility to

 investigate the matter to the extent that he was able-in this case, viewing the Plaintiffs

 clothing-before escorting her off the airplane.

         78.    The Manager sawthat the Plaintiff's clothing was flight-appropriate, yet asked her

 to exit the aircraft because he had predetermined that she would be kicked off.

         79.    Upon information and belief, the Man who complained appeared to be of

 obviously higher economic and/or educational class than the Plaintiff, and therefore commanded

 positive attention.


         80.    Upon information and belief, the Man told the Flight Attendant that the Plaintiff

 was dressed offensively and that he was uncomfortable sitting near her.

         81.    While she had the discretion to offer the Man the option of changing seats once

 the cabin doors closed, the Flight Attendant had already noticed and negatively assessed the

  Plaintiff; and was happy to take the opportunity to embarrass her.



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         82.     The Flight Attendant elected to loudly ask the Plaintiff if she was "okay" out of

 spite, to embarrass her. Thoughthe FlightAttendant knewthat the Plaintiffwas not intoxicated

 or in a medically distressed state, she wanted to humiliate her without betraying that the Man

 had complained.

         83.     The Flight Attendant elected not to ask the Plaintiff if she could zip up her top

 because she wanted to embarrass and humiliate her. Instead of quietly explainingthe situation

 to the Plaintiff,the FlightAttendant made a spectacleout ofcallingin a Maintenanceworkerwho

 would catch the attention of everyone on the aircraft.

         84.     The Maintenance worker woman merely asked that the Plaintiff cover up-

 somethingthe Flight Attendant could have done but chose not to do.

         85.     Though the Plaintiffstop was at that point zipped as high as it could go and was

 not revealing or offensive, the Flight Attendant returned and insisted that the Plaintiff had to

 cover up.


         86.     The Flight Attendant knew, and intended, that the continued communications

 with the Plaintiff would cause a scene. She also knew that the Man would have accepted and

  been fine with the Plaintiff behind him since she had zipped up her shirt.

         87.     Out of anger and animosity, the Flight Attendant told the Plaintiff that she would

  have to wear her coat on the flight-a command that she knew was unreasonable, and further

  designed to humiliate the Plaintiff.

         88.     The Flight Attendant's actions were calculated to cause the Plaintiff as much

  embarrassment and shame as possible becausethe FlightAttendant wanted to satisfythe Male

  customer, and becausethe FlightAttendant prejudged and negatively assessedthe Plaintiff.



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         89.    When the Plaintiff refused to don her coat for the duration of the flight given the

 temperature on the aircraft, the Flight Attendant became angry and retaliatory. Though she

 could have asked if the Plaintiff had or would wear a t-shirt if given to her, the Flight Attendant

 very obviouslywent to summons the Manager.

         90.     Upon information and belief, the Manager looked up the Plaintiff's flight

 information before responding and realized that she most certainly could not afford to rebook

 herticket or miss the last flight to her destination that night.

         91.     Upon information and belief, the Manager also knew that the Flight Attendant had

 a pattern and practice of treating certain women passengers in this manner and/or of being

 unnecessarily confrontational.

         92.     Upon information and belief, the Flight Attendant untruthfully told the Manager

 that the Plaintiff was being obstinate and uncooperative, and refused to follow instructions.

         93.     The Manager entered the plane after conferring with the Flight Attendant and

  having predetermined that the Plaintiff would be kicked off the plane.

         94.     Though he knew or should have known that the Plaintiff was not violating AA

  policy and/or could have been given or asked to put on a t-shirt if necessary; and though he saw

  that the Plaintiff was causing no disruptions, the Manager immediately told the Plaintiff to gather

  her things and come with him.

         95.     The Manager and the Flight Attendant intentionally exposed the Plaintiff to

  extreme public embarrassment and humiliation in retaliation for her perceived social class,

  educational background, physical appearance, and clothing choices.




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           96.    Neither the Flight Attendant nor Manager informed the Plaintiffthat, if she did

 not put her coat on as requested, she would be removed from the aircraft and would forfeit her

 ticket.

           97.    Upon information and belief, had the Plaintiff been African American, the Flight

 Attendant would not have drawn attention to or asked the Plaintiff to "cover up, " and the

 Managerwould not have asked the Plaintiffto leave the aircraft.

           98.    Upon information and belief, had the Plaintiff been physically thin or "skinny,"

 and/or had smaller breasts, the Flight Attendant would not have asked that she "cover up"; and

 the Managerwould not have escorted her offthe plane.

           99.    Upon information and belief, had the Plaintiff appeared "professional,"

 "educated, " and/or of upper-middle class, the Flight Attendant would not have drawn attention

 to her, and the Managerwould not has askedthat she leave.

           100.   Because of the Plaintiff's perceived status as (a) underclass; (b) uneducated; (c)

 overweight/voluptuous; and (d) Caucasian, the Flight Attendant and Manager determined that

 they would kick her off of the plan under the guise of wearing inappropriate clothing.

           101.   Upon information and belief, neither the Flight Attendant nor Manager reviewed

  AA policies or procedures ahead of time, nor did either speak with an AA official or employee

  familiar with them.

           102.   Upon information and belief, the Manager called and wasin touch with AAand/or

  its staff before, during, and after these actions weretaken.

           103.   Upon information and belief, AA advised, directed, and/or condoned the

  Manager's actions in removing the Plaintiff from the flight, refusing to permit her travel, failing



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 to find her and pay for alternate transportation, not arranging and paying for overnight

 accommodations, not securing her ground transportation, not providing meals, and permitting

 herto be held for hours at the airport as it emptied for the night.

         104.    The Defendantsall acted with actual malice in forcing and allowingthe Plaintiffto

 sit in the emptying and then emptied airport indefinitely.

         105.    Upon information and belief, AA approved of, directed, and agreed with the

 actions that were taken.

         106.    Upon information and belief, AA was put on almost immediate notice of the

 Plaintiff's treatment, but made no efforts to reach out or respond to her about what had

 occurred.

         107.    As a result of the Defendants' malicious and intentionally humiliating actions, the

  Plaintiff suffered extreme emotional distress.

         WHEREFORE/ Plaintiff demands judgment against the Defendants, jointly and severally,

  for such amount as is appropriate, with punitive damages, interest and costs.

                                                Count V:
                      Negligent Infliction of Emotional Distress (All Defendants)

         108.    The Plaintiffrepeats the above allegations.

         109.    AA owed the Plaintiff a duty of permitting her to fly on its aircraft when and if she

  had valid tickets for travel, and when and if she was otherwise compliant with terms thereof.

          110.   AA owed the Plaintiff the furt:her duty of training and instructing its employees as

  to the fairtreatment of all races, genders, classes, and other types of persons flying on its airline;

  as well as the proper (and improper) bases for expelling a passenger from a plane.




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        111.    AA also owed the duty of "checking" its staff and correcting those who were

 attempting to apply rules improperly, unfairly, or unjustly.

        112. AA owed the duty to each passenger to ensure her safety was not unreasonably

 compromised by, inter alia, terminating travel plans, making no alternate arrangements, or

 leaving the passenger to fend for herself in a vacant airport in a strange city.

        113.    FlightAttendant owed a dutyto the Plaintiffto treat herfairly and equally, without

 regard to race, gender, appearance, or class.

         114.   Flight Attendant owed a further duty to the Plaintiff not to embarrass, humiliate,

 retaliate against, penalize, or otherwise harm the Plaintifffor nojustified reason.

         115.   Flight Attendant owed a duty to ensure that rules that she was purporting to

 enforce were applicable to a given situation, and not to arbitrarily apply them.

         116.    Manager had a duty to the Plaintiff to know and enforce the rules and regulations

 of the airline as written and intended, and equally.

         117. Manager had a duty to ensure that the Plaintiffwas able to complete her travel

 plans without undue and improper interference.

         118.    Manager owed the duty of investigating allegations made by staff, such as Flight

 Attendant, asto alleged passenger conduct before terminating a passenger's trip.

         119.    Manager owed a duty of applying all airline rules and regulations fairly and

  without regard to race, gender, appearance, or class.

         120.    Manager owed the Plaintiff the duty of explaining what would happen if she did

  not completely cover her chest; andthe duty ofofferingfor herto change her clothes or put on

  a t-shirt and givingher a chanceto comply



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         121.       Manager owed a duty of ensuring that the Plaintiffwas not stranded in the airport

 without alternate plans, a place to stay, ground transportation, food, and/or adequate funds.

         122.       In breach of the foregoing duties, the Defendants took actions so neglectful that

 they were virtually certain to result in great emotional distress to the Plaintiff. Among other

 things, the Defendants negligently trained on and applied the airline rules; allowed their internal

 prejudices to color application of those rules; failed to properly apply those rules; unfairly and

 callously removed the Plaintifffrom the aircraft and did not allow herto reboard; did not rebook

 the Plaintiff; refused to payor even arrange for the Plaintiff's lodging; failed to assistthe Plaintiff

 in securing ground transportation; failed to ensure that the Plaintiff had a meal; and held the

 Plaintiffat the airport until the buildingwas effectively empty.

         123.       The Plaintiff was substantially harmed as a result of the Defendants' individual and

 collectively negligent behaviors, which were predictably likely to cause substantial emotional

 distress.


         124.       The Defendants' breach caused the Plaintiff severe emotional distress.

         WHEREFORE, Plaintiff demands judgment against the Defendants, jointly and severally,

  for such amount as is appropriate, with interest and costs.

                                                  Count VI:
                                         NegligentSupervision (AA)

             125.   The Plaintiffrepeatsthe above allegations.

             126.   AA had a special relationship with the Plaintiff as an invitee of the airline.

             127.   Specifically, the Plaintiff was a member of the flying public, which pays AA as a

  common carrier.




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          128.   The Flight Attendant and Manager acted intentionally in singling out, humiliating,

 and discriminating the Plaintiff based upon her race, gender, appearance, and/or assessed class.

          129.   The conduct described was within the scope of the Flight Attendant's and

 Manager's employment with AA.

          130.   Upon information and belief, the Flight Attendant and/or Manager had a history

 of negative interactions with and treatment of persons ofthe Plaintiff's race, gender, appearance

 and/or class.

          131.   The Flight Attendant and Manager were upon AA's premises (aircraft or gate),

 whichwas possessed byAAandwhichthe FlightAttendant and Managerwere privileged to enter

 only as servants or employees.

          132.   AA knewthat it had the abilityto control the Flight Attendant and Manager.

          133.   As a result of AA's negligent supervision, the Flight Attendant and Manager

  subjected the Plaintiff to unreasonable harm by causing her public humiliation, shame, and

  embarrassment, and behaving and speaking in such a way certain to inflict upon her emotional

  pain.

          134.   The Plaintiff suffered unreasonable harm, and substantial emotional distress.

          WHEREFORE,Plaintiffdemandsjudgment against AA for such amount as is appropriate,

  with interest and costs.

                                              Count VII:
                                      RespondeatSuperior (AA)

          135.   The Plaintiffrepeats the above allegations.

          136.   At all times, the Flight Attendant and Manager were acting within the scope of

  their employment with AA.


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           137.   The complained-ofconduct was the kind that the Flight Attendant and Manager

 were employed to perform.

           138.   The complained-ofconduct occurred substantiallywithinthe authorizedtime and

 space limitations of the Flight Attendant's and Manager's positions.

           139.   The complained-of conduct was actuated, in least in part, by the purposes ofAA.

           140.   The conduct was intentionally used by the Flight Attendant and Manageragainst

 the Plaintiff, and such conduct was not unexpected by AA.

           141.   The complained-of conduct was not so different from that authorized, far beyond

 the time or space limits, or too little actuated by a purpose to serve AA, so as to be outside the

  scope of the Flight Attendant's or Manager's employment.

           WHEREFORE,Plaintiffdemandsjudgment against AA for such amount as is appropriate,

  with interest and costs.

                                              Count VIII:
                                   Violation of 42 U. S. C. §1981 (AA)

           142.   The Plaintiff repeats the above allegations.

           143.   AA engaged in purposeful discrimination against the Plaintiff, by and through its

  staff.

           144.   The discrimination was based on the Plaintiffs race (white), gender (female),

  appearance (overweight/voluptuous), and class (lower).

           145.   The discrimination was committed in the course of the Plaintiffs acting pursuant

  to a contract with AA, to wit: Making use of her ticket that she had purchased for travel.

           146.   As a result ofthe Defendants'discriminatoryconduct, the Plaintiffwasrepeatedly

  - and then permanently - prevented from contracting with AA.


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            147.   The discriminatory treatment and conduct was committed with malice or reckless

  indifference to the federally protected rights of the Plaintiff.

            148.   As a result of the Defendants' conduct, the Plaintiff suffered inconvenience,

  mental anguish, emotional pain, and other nonpecuniary losses.

            WHEREFORE/ Plaintiff demands judgment against the Defendants, jointly and severally,

 for such amount as is appropriate, with punitive damages, attorney fees, interest and costs; and

  requests injunctive relief prohibiting AA from continuing its discriminatory treatment of

 customers pursuant to 42 U. S. C. A. §1988(b).

                                                 Count IX:
                                      Violation of 42 U. S. C. A. §1982

            149.   The Plaintiff repeats the above allegations.

            150.   The Plaintiff has the right, as citizen of the United States, in every State of the

  Nation, as is enjoyed by male, AfricanAmerican, skinny, middle-classcitizensthereof, to purchase

  and make use of airline tickets with AA.

            151.   The Plaintiff belonged to a protected class of persons (white/female/overweight

  and/or underclass).

            152.   The Defendants had discriminatory intent.

            153.   The Defendants interfered with the Plaintiff's rights connected with the purchase

  and use of its airline tickets.

            154.   The Defendants acted with actual malice or reckless disregard for the Plaintiff's

  rights.

            WHEREFORE,Plaintiff demandsjudgment against the Defendants,jointly and severally,

  for such amount as is appropriate, with punitive damages, attorney fees, interest and costs; and


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 injunctive relief prohibiting AA from continuing its discriminatory racial profiling of customers

 pursuant to 42 U.S. C.A. §1988(b).
                                                                   A

 Dated: November 10, 2021.
                                             Jed Davis, Esq., Maine r No. 001686
                                             Attorney for the Plaintiff

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